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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

                                                  )      Case No.:
Kalilo Robinson                                   )
630 E. Passadena                                  )      Judge
Youngstown, OH 44505                              )
                                                  )
       Plaintiff                                  )      COMPLAINT
                                                  )
                                                  )
                                                  )      JURY DEMAND ENDORSED
Vs.                                               )      HEREON
                                                  )
Mahoning County                                   )
120 Market St.                                    )
Youngstown OH 44502                               )
                                                  )      INSTRUCTIONS FOR SERVICE
                                                  )
and                                               )
                                                  )
Paul Gaines                                       )
Mahoning County Prosecutor                        )
21 W. Boardman St.                                )
Youngstown, OH 44503                              )
                                                  )
and                                               )
                                                  )
Dawn Cantalamessa                                 )
Individually and as Assistant County Prosecutor   )
21 W. Boardman                                    )
Youngstown OH 44503                               )
                                                  )
and                                               )
                                                  )
Shawn Burns                                       )
Assistant County Prosecutor                       )
21 W. Boardman                                    )
Youngstown OH 44503                               )
                                                  )
Defendants                                        )

       Now comes Plaintiff, by and through the undersigned counsel and for the Complaint

against the Defendants states:
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       1.      Defendants, acting under color of law and with deliberate indifference, deprived

Plaintiff of rights secured by the due process and equal protection clauses of the Fourteenth

Amendment to the U.S. Constitution and guaranteed by 42 U.S.C. Section 1983 et seq.

       2.      Specifically, Plaintiff alleges that Defendants in this action, acting under color of

state law, and acting willfully, wantonly, recklessly in a gross and negligent manner, and with

deliberate indifference to Plaintiff’s rights, privileges, and immunities, failed to follow

requirements and regulations designed to protect Plaintiff, failed to provide Plaintiff with the

level of care and protection required by law and comparable to that which was made available to

other similarly situated individuals.


                                         JURISDICTION

       3.      Jurisdiction is invoked pursuant to 28 U.S.C. Sections 1343(3) and (4). Claims are

asserted pursuant to the Fourteenth Amendments to the U.S. Constitution, and 42 U.S.C. Section

1983. Supplemental state claims are asserted pursuant to 28 U.S.C. Section 1167, state statutes

and state common law.


       4.      Venue is proper in the Northern District of Ohio pursuant to 28 U.S.C. § 1391(b).

       5.      The events giving rise to the claims occurred in this district, and all named

Defendants reside in the State of Ohio and in this district.


                                             PARTIES

       6.      Plaintiff, Kalilo Robinson is a resident in the City of CYoungstown, Mahoning

County within the Northern District of Ohio.

       7.      Defendant, Mahoning County, is a political subdivision duly organized under the

laws of the State of Ohio.
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       8.      Defendant, Paul Gaines, is the duly elected Prosecutor of Mahoning County, who

by and through his agents, employees and contractors, is responsible for the staffing,

maintaining, training and otherwise operation of the Mahoning County Prosecutor’s Office.

       9.      Defendant Dawn Cantalamessa was at all relevant times an employee of

Defendant Mahoning County Prosecutor’s Offfice and Defendant Mahoning County, in that

capacity, acting under color of law, she is responsible for the implementation of all official

governmental laws, policies, regulations and procedures governing activities of the Mahoning

County Prosecutor’s Office. She is sued in both her individual and her official capacity.

       10.     Defendant Shawn Burns was at all relevant times an employee of Defendant

Mahoning County Prosecutor’s Offfice and Defendant Mahoning County, in that capacity, acting

under color of law, she is responsible for the implementation of all official governmental laws,

policies, regulations and procedures governing activities of the Mahoning County Prosecutor’s

Office. He is sued in his official capacity.

       11.     At all times relevant to this Complaint, all Defendants acted through their agents,

servants and employees acting within the course and scope of their respective agencies, services,

and employments.

       12.     At all times relevant to this Complaint, all employees are the agents, servants and

employees of all other Defendants, acting within the course and scope of their respective

agencies, services and employments.

       13.     All actions (and omissions) of all Defendants were done jointly, severally,

individually, in conspiracy and in combination.
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                                             FACTS

       14.     At all relevant times herein, the Plaintiff enjoyed and possessed a right under the

Fourth Amendment to the Constitution of the United States to be free from unreasonable

searches and seizures and to be secure in her person, personal effects, and property. In addition,

Plaintiff enjoyed and possessed a right under the Fifth Amendment that his liberty would not be

deprived without due process of law.

       15.      On or about January 19, 2016, Defendant Dawn Cantalamessa acting under color

of state law, and acting willfully, wantonly, purposely, and with deliberate indifference to

Plaintiff’s rights, privileges, and immunities, threatened to pursue an indictment against the

Plaintiff for the crime of murder and aggravated murder. At the time, Plaintiff was a witness in a

case in Mahoning County, State V. White, 2015 CR 0538.                Plaintiff had expressed an

unwillingness to testify in this case. This allegation is supported by an affidavit previously filed

in State V. Robinson, 2016 CR 342 and attached hereto as Exhibit “A”

       16.     On or about April 5, 2016, a hearing was scheduled in the case of State V. White,

2015 CR 0538. Although it is not completely clear as the reason for the hearing, it appears that

the purpose was to determine the intentions of the Plaintiff with regard to his willingness to

testify. At this hearing, the Plaintiff invoked his fifth amendment right. Although the Plaintiff

was offered immunity by the Prosecutor’s Office, it was not granted by the Court. The offer of

immunity was not withdrawn by the Prosecutor’s Office. This allegation is supported by the

transcript of proceedings attached hereto as Exhibit “B” and the affidavit attached as Exhibit “A”

       17.     On or about April 7, 2016, Defendants Dawn Cantalamessa and Shawn Burns

acting under color of state law, and acting willfully, wantonly, purposely, and with deliberate

indifference to Plaintiff’s rights, privileges, and immunities, obtained an indictment against the
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Plaintiff for the crime of obstruction of justice and tampering with evidence. Said indictment

(attached hereto as Exhibit C) was obtained by misrepresenting facts to the grand jury. This

allegation is supported by the transcript of grand jury proceedings previously filed in State V.

Robinson, 2016 CR 342 and attached hereto as Exhibit “D”.

       18.      As a result of the indictment brought against the Plaintiff, Plaintiff was held in

the Mahoning County Justice Center until August 30, 2016.

       19.     On or about August 9, 2016, Counsel for Plaintiff filed a motion to dismiss the

indictment against the Plaintiff in Case no. 2016 CR 342. On August 16, 2016, prior to the Court

ruling on the motion to dismiss, Defendant Dawn Cantalamessa dismissed the Case.

       20.     On August 16, 2016 Defendant Dawn Cantalamessa misrepresented to the Court

in State V. White Case no. 15 CR 538 that there were phone calls of the Plaintiff recorded at the

Mahoning County Justice Center in which Plaintiff intended to go to the State of Tennessee and

not appear as required in the case of State V. White. As a result of the misrepresentations of the

Defendant, Kalilo Robinson, as a witness, was held without bond. Said order holding the

Plaintiff is attached hereto as Exhibit “E”.

       21.     On August 24, 2016, Counsel for the Plaintiff filed an action in the Seventh

District Court of Appeals seeking a writ of habeas corpus

       22.     On August 24, 2016, Defendant Cantalamessa filed a motion for material witness

warrant and in a sworn affidavit stated “KALILO ROBINSON plans to leave town as soon as he

is out of jail and not return for trial”. Said statement was a misrepresentation of the recorded

phone calls. Said affidavit is attached hereto as Exhibit ”F”.
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       23.     On August 30, 2016, in Case No. 15 MA 0134, the Seventh District Court of

Appeals granted the Plaintiff’s petition for writ of habeas corpus. Said opinion and entry is

attached hereto as Exhibit “G”.

                                        COUNT ONE
                                     42 U.S.C. SEC. 1983
                                  MALICIOUS PROSECUTION

       24.     Plaintiff restates and realleges each and every allegation contained above as if

expressly rewritten herein.

       25.     As described more fully above, Defendants Shawn Burns and Dawn

Cantalamessa obtained an indictment against the Plaintiff, knowing that there was not probable

cause to obtain such indictment.

       26.     The misconduct described in this Count was undertaken with malice, willfulness,

and purposeful indifference to the rights of Plaintiff.

       27.     As a result of the malicious prosecution of Plaintiff, he suffered damages in that

he was deprived of his freedom and liberty.

       28.     For the above reasons, Plaintiff respectfully requests this Honorable Court to

award Plaintiff exemplary, compensatory, and punitive damages, plus costs, interest, and

attorney fees, as set forth in 42 U.S.C. §§ 1983 and 1988.

       29.     The actions of Defendants constitute malicious purpose, bad faith and wanton and

reckless conduct.
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                                          COUNT TWO

                      FAILURE TO TRAIN UNDER 42 U.S.C.A. § 1983



       30.     Plaintiff restates and reallege each and every allegation contained above as if

expressly rewritten herein.



       31.     Defendant Paul Gaines for the Mahoning County Prosecutor’s Office acting under

the color of state law and through its employees, agents, and/or representatives, intentionally and

knowingly engaged in the actions to violate Plaintiff’s constitutional rights.



       32.     Out of deliberate indifference and/or unofficial custom and policy, Defendant

Paul Gaines failed to adequately train or supervise his employees as to the violation of

constitutional rights and what constitutes unlawful prosecutorial conduct.



       33.     The actions of Defendant Paul Gaines, as Mahoning County Prosecutor, in failing

to properly train its officials and employees in proper methods prosecutorial conduct, constitute a

violation of Mahoning County Prosecutort's obligations to maintain lawful policies and

procedures.



       34.     Defendant Paul Gaines as Mahoning County Prosecutor, through its employees

and agents including Defendants Dawn Cantalamessa and Shawn Burns acted with deliberate

indifference and acted purposely, willfully, wantonly and recklessly.
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         35.   As a direct and proximate result, Plaintiff was subjected to malicious prosecution

and the temporary loss of his freedom and liberty by Defendants Dawn Cantalamessa and Shawn

Burns.


         36.   Plaintiff has incurred, and will incur monetary damages as a direct and proximate

result of Defendants' unlawful acts as described herein.



                                        COUNT THREE

                                   FALSE IMPRISONMENT



         37.   Plaintiffs restate and reallege each and every allegation contained above as if

expressly rewritten herein.



         38.   Defendant, Dawn Cantalamessa, after dismissing the malicious prosecution

indictment against the Plaintiff, misrepresented facts to the Court resulting in the continued

deprivation of Plaintiff’s freedom and liberty.


         39.   Defendant, Dawn Cantalamessa further filed documents including an affidavit

with the Mahoning County Common Pleas Court which contained false and/or misrepresented

facts in order to obtain a Material Witness Warrant against the Plaintiff.


         40.   Plaintiff’s freedom and liberty continued to be deprived until the Seventh District

Court of Appeals ordered the Plaintiff’s release.
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       41.      Defendant, Cantalamessa’s conduct was so purposeful, reckless and malicious so

as to demonstrate a substantial lack of concern for the constitutional rights of the Plaintiff.

       42.      Defendant, Dawn Cantalemessa’s indifferent acts and/or omissions were the

direct and proximate cause of Plaintiff's deprivation of his freedom and liberties.

       43.      For the above reasons, Plaintiff respectfully requests this Honorable Court to

award Plaintiff exemplary, compensatory, and punitive damages, plus costs, interest, and

attorney fees, as set forth in 42 U.S.C. §§ 1983 and 1988.




       WHEREFORE, Plaintiffs ask that this court grant the following relief:



             a. Declare that the acts and conduct of all defendants constitute violations of

                Plaintiff’s constitutional, statutory and common-law rights.



             b. Grant to the Plaintiff and against all defendants, jointly and severally, an

                appropriate amount of compensatory damages in excess of $75,000.00, and

                against the individual defendant an appropriate amount of punitive damages.



             c. Grant to the Plaintiff and against all defendants, jointly and severally, appropriate

                costs and attorneys' fees.



             d. Grant to the Plaintiffs any other relief the court deems appropriate.
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                                                     Respectfully submitted,




                                                     BY: _/s/ James R. Wise______________
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                                                       Attorney for Plaintiff
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                                                       Boardman, OH 44513
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                                        JURY DEMAND

    Plaintiff hereby demands trial by jury.



                                                     _/s/ James R. Wise________________
                                                      James R. Wise
                                                      Attorney for Plaintiff




                                   INSTRUCTIONS FOR SERVICE
         Please serve a copy of the foregoing Complaint, along with Summons, upon the

Defendants at the addresses noted in the caption, by certified mail, return receipt requested, and

make return according to law, all pursuant to Civ.R. 4.1.




                                                     _/s/ James R. Wise________________
                                                      James R. Wise
                                                      Attorney for Plaintiff
